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Case 2:04-Cr-20150-BBD Document 87 Filed 08/24/05 Page 1 of 6 Pag_elD 109

UN|TED STATES DISTRICT COURT
WESTERN DISTR|CT OF TENNESSEE

MEMPH|S DlVlSION

uNlTEo sTATEs oF AMERch

-v- 2:04cn20150-01-D\/
2:04cn20103-01-D

scoT'r anwFono

Tony Axam, Retained

Defense Attorney
1280 Peachtree Street, #310
At|anta, GA 30309

money _

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W/U 01 twer

 

JUDGMENT lN A CR|MINAL CASE

(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1-1
& 9 of the indictment in 05-20103
adjudicated that the defendant is gui|

Title & Section

18 U.S.C. § 1956 (a)(1)
and
18 U.S.C. § 2

1a u.s.c.§1957 and
18 u.S.C. § 2

18 U.S.C. § 2113 (a) and
18 u.S.C. § 2

18 U.S.C. § 371

18 u.S.C. § 1510 (a) and

18 U.S.C. § 2

18 U.S.C. § 666 (a)(2)
and
18 U.S.C. § 2

18 U.S.C. § 1512 (c)(2)
and
18 U.S.C. § 2

Thls document entered on the docket
with Rule 55 and/or 32(b) FFlCrP on

Nature of Offense

 

Money Laundering Proceeds from
Specified Unlawiul Activities, Aiding
and Abetting

Engaging in Money Transactions in
Property Derived from Specified
Unlawful Activity, Aiding and Abetting

Bank Larceny, Aiding and Abetting

Conspiracy to Obstruct a Criminal
|nvestigation and Commit Bribery
Affecting Federal Programs

Obstruction of a Criminal lnvestlgation,
Aiding and Abetting

Bribery Attectlng Programs Fieceiving
Federai Funds, Aiding and Abetting

Tampering With a Witness/lnformant,
Aiding and Abetting

nc mpl ca

Date
Offense
Concluded

07/1 9/2002

 

07/19/2002

09/25/2003

02/19/2004

02/1 9/2004

02/1 9/2004

02/1 9/2004

5 of the indictment in 04-20150 and Counts 2-7
on |Vlarch 14, 2005. Accordingly, the court has
ty of the following offenses:

Count
Mm_be§

1 - 6
(04-20150)

7 - 12
(04-201 50)

13 - 15
(04-20150)

2
(04-20103)

3 & 5
(04-20103)

4 & 6
(04-20103)

7
(04-20103)__

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Case No: 2:04CF1'20150-D and 2:04CR20103-D Defendant Name: Scott CRAWFORD Page 2 cf 5

Date Count
Tiue & section Mu_re_LQons_e Offense Numbers
_C£n_CM|£g
18 U.S.C. § 922(k) and Possession of a Firearm With an 02/21/2004 9
18 U.S.C. § 2 Ob|iterated Seriai Number Affecting (04-20103)
interstate Commerce, Aiding and
Abetting

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 10, 11, 12 of 04-20103 are dismissed on the motion of the United States.

|T iS FUF|THER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residencel or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birlh: 5/5/1970 August 22, 2005
Deft's U.S. Marsha| No.: 19514-076

Defendant’s Maiiing Address:
655 Fiiverside Drive, #1408
Memphis, TN 38103

    

BERN|CE B. DONALD
UN|TED STATES DlSTR|CT JUDGE

Augusté; 2 , 2005

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Case No: 2:04CF{20150-D and 2:04CR20103-D Defendant Name: Scott CFtAWFOFiD Page 3 015

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a total term of 71 Months. (71 months as to each of counts
1-15 in case number 04-20150 and 4,6 81 7 in case number 04-20103; 60 months as to each
of counts 2, 3, 5 & 9 in case number 04-20103. Ai| terms to be served concurrent|y).

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States Marshai.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term 013 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a iirearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed bythe court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:04CFt20150-D and 2:04Ci'-i20103-D Defendant Name: Scott CRAWFOFiD Page 5 01‘5

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine cr restitution in accordance with the Scheduie of Payments set
forth in the Criminal Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2) Cooperate in the coiiection of DNA as directed by the probation Officer.

CR|M|NAL MONETAFW PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth clay after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Total Restitution

$2,100.00
The Speciai Assessment shall be due immediateiy.

 

F|NE
No fine imposed.

REST|TUT|ON
No Fiestitution was ordered.

   

UNITED sTEATsD"TISRIC COURT - WESERT DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
case 2:04-CR-20150 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

